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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION
                                       (at Pikeville)

 UNITED STATES OF AMERICA,                          )
                                                    )
         Plaintiff,                                 )     Criminal Action No. 7: 06-029-DCR-5
                                                    )
 V.                                                 )
                                                    )
 TERRY BRANHAM,                                     )         MEMORANDUM OPINION
                                                    )             AND ORDER
         Defendant.                                 )

                                       ***    ***       ***   ***

        Defendant Terry Branham, who is serving a 151-month term of imprisonment, has

filed a pro se motion requesting a reduction of his sentence under Amendment 782 to the

United States Sentencing Guidelines and 18 U.S.C. § 3582(c)(2).1 [Record No. 809] The

issue presented is whether a sentence reduction would be warranted in light of the facts of the

case and relevant factors to be considered under 18 U.S.C. § 3553. In addressing this issue,

the Court considers, inter alia, the seriousness of the crime, the personal history and

characteristics of the defendant, the defendant’s acceptance of responsibility and cooperation,

specific and general deterrence, and the need to protect the public from potential, future

crimes by Branham. When these and other sentencing factors are considered, the Court

concludes that a reduced sentence is not warranted. The motion, therefore, will be denied.


1        The Court denied Branham’s earlier motion for appointment of counsel. [Record No. 799]
Further, this matter need not be scheduled for hearing to resolve the defendant’s motion. There is no
constitutional right to counsel or to a hearing in proceedings filed under 18 U.S.C. § 3582(c)(2). United
States v. Whitebird, 55 F.3d 1007 (5th Cir. 1995); United States v. Townsend, 98 F.3d 510 (9th Cir.
1996); United States v. Webb, 565 F.3d 789 (11th Cir. 2009); and United States v. Legree, 205 F.3d 724
(4th Cir. 2000), cert. denied, 531 U.S. 1080 (2001).


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       On December 21, 2007, a jury found Branham guilty of: conspiring to distribute more

than 500, but less than 5 kilograms of cocaine in violation of 21 U.S.C. §§ 846 and

841(b)(1)(B) (Count 1); eleven counts of distributing cocaine in violation of 21 U.S.C. §

841(a)(1) and 18 U.S.C. § 2 (Counts 2–10, 21, 22); and eight counts of using a

communication facility to commit a felony in violation of 21 U.S.C. §§ 843(b), (d)(1), and 18

U.S.C. § 2 (Counts 11, 13, 15–20). [See Record No. 580] The jury found that Branham was

not guilty of Count 14 of the Superseding Indictment, which charged him with using a

communication facility to commit a felony in violation of 21 U.S.C. §§ 843(b), (d)(1), and 18

U.S.C. § 2.

       As outlined in his Presentence Investigation Report, Branham’s Base Offense Level

was determined to be 28. [Record No. 582] Under U.S.S.G. § 2D1.1(b)(1), Branham

received a two-level increase for possessing two loaded firearms at his residence, where he

also stored approximately $7,500 in currency obtained through his drug trafficking activities.

[Record Nos. 582, p. 27; 721, p. 47–49]          Next, Branham’s guideline calculation was

increased by 2 levels under U.S.S.G. § 3B1.1 due to his leadership role in the conspiracy.

[Record Nos. 582, p. 27; 721, p. 49] Thus, Branham’s Total Offense Level was calculated to

be 32. Branham did not have any criminal history points assessed, which placed him in

criminal history category I for purposes of calculating his guideline range of imprisonment.

[Record No. 582, p. 28] Thus, Branham’s resulting non-binding guideline range was 121 to

151 months.     [Record No. 582, p. 34]         The Court determined that 151 months of

imprisonment would be sufficient, but not greater than necessary, to satisfy the statutory

goals outlined in 18 U.S.C. § 3553(a).



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       After again reviewing the relevant § 3553 factors and Branham’s post-sentencing

conduct, the Court (again) concludes that a term of incarceration of 151 months, but no less,

is necessary and appropriate under the circumstances. Branham, his wife, his father, and

several other individuals were involved in this cocaine distribution conspiracy.        While

Branham attempted to minimize the role of others involved (particularly his wife), it was

clear that five or more individuals were involved in this substantial and extensive conspiracy.

[Record No. 721, p. 50] Branham directed that his wife listen to the police scanner and

report any police activity in the area to him. [Record No. 721, pp. 49, 53] She also relayed

phone calls to Branham and, on at least one occasion, accepted drug proceeds and counted

the proceeds as he had instructed. As further discussed during the sentencing hearing, the

facts established that Branham was an organizer, leader, or supervisor of criminal activity

involving five or more participants under U.S.S.G. § 3B1.1(a). [Record No. 721, p. 50] The

Court also found that this was an “otherwise extensive” drug operation. [Id.] As a result, a

four-level role enhancement under § 3B1.1(a) was supported by the evidence. But because

Branham was not given notice prior to the sentencing hearing that the Court was considering

an additional enhancement based on the number of individuals involved or the extensive

nature of the activity, a four-level enhancement was not included in the final guideline

calculation. [Id.] However, these facts were weighed at the sentencing hearing as part of the

relevant factors under § 3553, and are again considered in evaluating Branham’s motion for a

reduction of his sentence.

       In support of his motion, Branham has provided his “inmate development plan,” and

copies of his program certificates. [Record No. 809-1] Branham notes that he has not had

any incident reports since his incarceration began in 2007. [Record Nos. 809, 809-1.] To his
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benefit, Branham has availed himself of the opportunities available during his incarceration.

While commendable, this post-sentencing conduct is not sufficient to warrant a reduced

sentence in light of the other relevant § 3553 factors.

         Branham did not have a criminal history prior to this offense, which also weighs in

favor of a reduction of his sentence. [Record No. 721, pp. 55–56, 59] However, Branham

was not only involved, but an organizer and leader in a large drug trafficking conspiracy.

Thus, while he did not have prior criminal history, his role in the enterprise negates any

positive consideration regarding this factor.         The Court also concludes that a reduced

sentence would unduly diminish the seriousness of Branham’s crime. [Record No. 721, pp.

64–69]     Considering the size of the community in which this crime occurred and the

extensive nature of the drug activity, there is an increased need to provide general deterrence

to others who may be contemplating similar activities.            In short, lowering Branham’s

sentence would fail to provide specific or general deterrence under the circumstances.

         A reduced sentence would also fail to provide sufficient punishment. While the Court

was inclined to consider a variance above the guideline range, it did not do so at the time of

sentencing hearing. [See Record No. 721, p. 66–67.] However, many of the same factors

warranting consideration of increasing the term of imprisonment prevent a reduction from

the sentence imposed. [Record No. 721, pp. 64–69] Again it bears repeating that Branham

played a significant and sophisticated role in a large drug distribution scheme. His role,

particularly considering his lack of drug use, indicates some likelihood that that Branham

will return to criminal activity when released. Branham’s success with the drug treatment2


2       Branham did not have a history of substance abuse before incarceration, and denied needing
substance abuse treatment before the sentencing hearing. Thus, it is unclear what, if any, benefit he
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and other available programs does not convinced the Court that he will not present a danger

of re-offending when released. The danger to the community weighs against reducing

Branham’s sentence by even one day. The Court has also considered the high costs of

incarceration but finds that the expenses which would be saved by reducing the defendant’s

sentence does not outweigh the other factors outlined above.

       Accordingly, for the foregoing reasons, it is hereby

       ORDERED that Terry Branham’s motion [Record No. 809] to reduce his sentence is

DENIED.

       This 26th day of August, 2015.




received from completing drug counseling treatment during his incarceration. [See Record No. 582, pp.
31–32]
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